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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

DENNIS WINDSOR,                             §
                                            §
         Plaintiff/Counter-Defendant,       §
                                            §
V.                                          §          No. 3:16-cv-934-L
                                            §
JEFF OLSON AND NERIUM                       §
INTERNATIONAL, L.L.C.,                      §
                                            §
         Defendant/Counter-Plaintiffs.      §

               MEMORANDUM OPINION AND ORDER AS TO
           DEFENDANT’S EMERGENCY MOTION TO COMPEL AND
           NONPARTY MARK SMITH’S OBJECTION TO SUBPOENA1

         Defendant Nerium International, L.L.C. (“Nerium”) filed an Emergency Motion

to Compel, see Dkt. No. 76 (the “MTC”), which United States District Judge Sam A.

Lindsay has referred to the undersigned United States magistrate judge for a hearing,

if necessary, and determination under 28 U.S.C. § 636(b), see Dkt. No. 79.

         Nerium seeks an order compelling Plaintiff Dennis Windsor to produce all

documents responsive to Nerium International LLC’s Request for Production No. 61

(“all documents reflecting communications or documents exchanged between Plaintiff

(or Plaintiff’s counsel) and Mark Smith or Tammy Smith (or their counsel) from




    Under § 205(a)(5) of the E-Government Act of 2002 and the definition of “written
     1


opinion” adopted by the Judicial Conference of the United States, this is a “written
opinion[] issued by the court” because it “sets forth a reasoned explanation for [the]
court's decision.” It has been written, however, primarily for the parties, to decide
issues presented in this case, and not for publication in an official reporter, and should
be understood accordingly.

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January 1, 2016 through the present relating to Nerium, Jeff Olson, or Plaintiff’s

claims asserted in this case.”). See Dkt. No. 76-1.

      Windsor filed a response, see Dkt. No. 82, and Nerium filed a reply, see Dkt. No.

88.

      On December 30, 2018, Nonparty Mark Smith also filed his Objection to

Subpoena, see Dkt. No. 81 (the “Objection”), which Judge Lindsay also referred to the

undersigned for a hearing, if necessary, and determination under 28 U.S.C. § 636(b),

see Dkt. No. 83. Mark Smith objects under Federal Rule of Civil Procedure 45(d)(2)(B)

to a Federal Rule of Civil Procedure 45 subpoena that Nerium served on him in this

case to require him to produce documents to a location in Los Angeles, California on

December 31, 2018. See Dkt. No 81 at 1-2; see also Dkt. No. 91 at 16-22 of 23 (the

“Subpoena”). And Nerium has filed its Response to Nonparty Mark Smith’s Objections

to Subpoena. See Dkt. No. 90.

                        Background and Legal Standards

      The parties are familiar with the background of the disputed matters that

Nerium raises in the MTC, the essence of which Nerium summarizes as follows:

             Mark and Tammy Smith are Nerium’s former top distributors. In
      March 2018, the Smiths left Nerium and likewise joined Jeunesse as
      independent distributors. Nerium knows Windsor and Mark Smith
      communicated about Windsor’s claims before his departure. Doc. #47.
      Nerium also has reason to believe Windsor communicated directly with
      the Smiths before and after their departure from Nerium about matters
      relating to their counterclaims. Mark Smith is scheduled to be deposed
      on January 3, 2019 in California. See Appx. 7.
             On November 20, 2018, Nerium served a request for production
      seeking certain documents and communications exchanged between


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      Windsor and the Smiths, and Windsor served objections on December 20,
      2018:
      REQUEST NO. 61:
      All documents reflecting communications or documents exchanged
      between You (or Your counsel) and Mark Smith or Tammy Smith (or
      their counsel) from January 1, 2016 through the present relating to
      Nerium, Jeff Olson, or Your claims asserted in this case.
      OBJECTION:
      Plaintiff objects to this request because it calls for documents protected
      by the attorney-client, attorney-work product and Common Interest
      Doctrine privileges.
      Appx. 5.

Dkt. No. 76 at 2.

      And Mark Smith explains the background of his Objection to Subpoena:

              1.    In this lawsuit, Plaintiff Dennis Windsor (“Windsor”) sued
      Nerium International, LLC (“Nerium”) and Jeff Olson (“Olson”) asserting
      breach of contract and fraud arising out of a broken promise to give
      Windsor an equity interest in Nerium. In addition, Windsor asserts a
      copyright infringement claim arising out of Nerium’s use of copyrighted
      materials owned by Windsor. This lawsuit was filed in March 2016.
      Windsor’s employment was terminated and he joined a competitor,
      Jeunesse, in April 2016.
              2.    Nerium filed a counterclaim asserting breach of fiduciary
      duty, misappropriation of trade secrets and conversion.
              3.    Smith, who also used to work for Nerium, now works for
      Jeunesse, and is in two contentious lawsuits with Nerium and Olson. The
      first lawsuit was filed by Smith in California, Mark Smith and Tammy
      Smith v. Nerium International, LLC, et. al, Case No.
      8:18-cv-01088-JVSPLA (C.D. Cal. filed February 23, 2018 (the “California
      Lawsuit”). In the California lawsuit, Smith asserts twenty-eight (28)
      causes of action arising, generally, out of broken promises by Olson and
      Nerium to pay Smith compensation which he did not receive, including
      an equity interest in Nerium. Smith also asserts that after he went to
      work for Jeunesse, Olson and Nerium defamed Smith in an effort to
      undermine his business. In the California lawsuit, Olson and Nerium are
      contesting personal jurisdiction. Currently, discovery in the California
      Lawsuit is limited to matters related to the personal jurisdiction issue.
              4.    The second lawsuit between Smith and Nerium Nerium
      International, LLC v. Mark Smith, et. al., Cause No. DC-18-03726, 134th
      Judicial District Court, Dallas County, Texas, filed Mar. 20, 2018) (the

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      “Texas Lawsuit”), is pending in Texas, and, over Smith’s objection, is now
      in arbitration Nerium filed the Texas Lawsuit claiming that Smith and
      others violated a non-solicitation provision when they left Nerium to work
      for Jeunesse. In the Texas Lawsuit, Smith produced emails, text
      messages, Facebook posts and other documents, was deposed for a full
      day (including about his decision to leave Nerium for Jeunesse), and was
      examined at a nearly full-day hearing in the matter. Nerium obtained a
      TRO and temporary injunction which is now on appeal to the Dallas
      Court of Appeals. Nerium then moved to compel the matter to arbitration
      where it is currently pending, Nerium International, LLC, JO Products,
      LLC, and Jeff Olson v. Mark Smith, et. al., American Arbitration
      Association No. 01-18-0002-8613. Discovery in the Texas Lawsuit,
      including the arbitration, is stayed.
             5.      Against this backdrop, on December 17, 2018 Nerium
      served Smith with a subpoena in this case to produce documents on
      December 31, 2018.

Dkt. 81 at 1-3. Nerium, in turn, explains its view of the relevant background as to the

Subpoena and Mark Smith’s objections:

              Dennis Windsor is Nerium’s former president. Doc. #21 at ¶ 77.
      According to Windsor, around 2009, Nerium’s owner and Chief Executive
      Officer Jeff Olson orally promised him ownership in the company. Doc.
      #19 at ¶¶ 8-9. Based on that supposed oral agreement, Windsor seeks
      damages of approximately $21 million from Olson and Nerium. Id. at ¶
      24. Defendants deny there is any such agreement. See Doc. #21. Nerium
      terminated Windsor’s employment in March 2016, shortly after he filed
      suit. Id. at ¶ 127. Just a week after he was terminated, it was announced
      that Windsor had become the Chief Development Officer of a competing
      company called Jeunesse. Id. at ¶ 82. Nerium asserts counterclaims
      against Windsor arising from his conduct before and after his departure.
      See Doc. 23 ¶¶ 120-86.
              Mark Smith is Nerium’s former top distributor. In March 2018,
      Smith left Nerium and likewise joined Jeunesse as an independent
      distributor. Smith, Olson, and Nerium are parties in a separate lawsuit,
      originally filed in state court, and now pending before the American
      Arbitration Association (“Smith Arbitration”). Windsor is not a party to
      the Smith Arbitration. Although there is some limited factual overlap in
      the two cases, the claims and defenses asserted are different.
      ....
              Despite initial denials by Windsor (including denials under oath to
      this Court), Nerium now knows Windsor and Mark Smith communicated

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   about Windsor’s claims before his departure and colluded with each other
   before and after Smith’s departure from Nerium. The recordings the
   Court recently ordered Windsor to produce, which Nerium has just begun
   reviewing, indicate that Smith and Windsor lined up their stories before
   suit was filed in 2016, and that Smith encouraged Windsor to file suit.
   Smith then passed along to Windsor what he claimed to be the content of
   Smith’s privileged conversations with Nerium’s Chief Legal Officer about
   Windsor’s lawsuit and promised to funnel him information as he obtained
   it.
           Other recently produced documents filed with the Court by
   Windsor’s counsel show other examples of collusion. For example, on
   March 21, 2016, Windsor and Smith communicated directly about Smith’s
   negotiations with Olson, as Smith said “I am going to pull back from
   [Nerium] HQ fully.” Doc. #82-2 at p. 99. Windsor responded: “A contract
   can be completed in 72 hours max with Steve’s team. This is a shame and
   a loss for many!!!! [Olson] is 100% responsible!! Sadly he has done even
   worse to me. I will always hold my head up high for my sacrifices to get
   us to this point. Y’all should do the same!!!! I count y’all as treasured
   friends now after going to battle with you since 2011. God ultimately
   owns the future NOT [Olson]!!!” Id. When Smith eventually left Nerium
   in 2018, and was sued for violating his non-solicitation covenant, Windsor
   emailed Smith: “As a fellow Co owner & Co founder [sic] of NI, sorry to
   hear Olson has filed what I’m sure is a frivolous lawsuit against your
   family. Please forward to me so I can be appraised of his continued
   fraudulent actions.” Id. at p. 85. Smith responded “Will do.” Id. By this
   point, Smith and Windsor were already working together at Jeunesse; the
   email appears to be something Windsor thought would sanitize their
   communications. In July 2018, after learning Nerium had resolved a
   separate lawsuit, Windsor texted Smith “Let’s go get OUR $” in reference
   to Olson. Id. at p. 25.
   ....
           Shortly after learning that Smith had voluntarily agreed to sit for
   a trial deposition (at Windsor’s request) in California on January 3, 2019,
   Nerium issued a document subpoena to Smith. Appx. 3-9. The subpoena
   requested production of only four categories of documents by December
   31, 2018, to allow at least a brief period for counsel to review before the
   deposition. Appx. 3 & 8. Nerium’s counsel emailed the subpoena to
   Smith’s lead counsel in California on December 10, 2018 and asked that
   he accept service. Appx. 2. After follow-up requests from Nerium’s
   counsel, Smith’s counsel eventually responded on December 12 “Mark
   [Smith] is not authorizing me to accept service of the subpoena.” Appx.
   10.


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            Because Smith refused to allow his counsel to accept service, on
      December 13, Nerium revised the subpoena to reflect personal service on
      Smith. Appx. 15-18. That same day, Nerium’s counsel emailed a courtesy
      copy of the updated subpoena to Smith’s counsel, and noted the content
      and document requests were the same as the December 10 version. Appx.
      13. Nerium’s process server formally served Smith with the subpoena in
      person that same day. Affidavit of Service, Doc. #89; see also Appx. 23.
      Smith filed objections to the subpoena on December 30. Doc. #82.

Dkt. 90 at 1-3 (footnote omitted).

      The objecting party seeking to withhold responsive documents or materials “has

the burden of proof in demonstrating that the discovery at issue is privileged or that

the work-product doctrine applies.” Boze Memorial, Inc v. The Travelers Lloyds Ins.

Co., No. 3:12-cv-669-P, 2013 WL 12123898, at *3 (N.D. Tex. Aug. 16, 2013) (citing

cases).

      And the Court has previously laid out standards that govern a Federal Rule of

Civil Procedure 37(a) motion to compel such as Nerium’s MTC, and those standards

are incorporated, but will not be repeated, here, including as to the general standards

governing attorney work product. See Zenith Ins. Co. v. Texas Institute for Surgery,

L.L.P., ___ F.R.D. ___, No. 3:18-cv-182-D, 2018 WL 4386268, at *6-*7 (N.D. Tex. Sept.

14, 2018); Lopez v. Don Herring Ltd., 327 F.R.D. 567, 573-86 (N.D. Tex. 2018).

      But, as to waiver of work product protection, as Nerium asserts, the Court has

previously explained that

      [t]he work-product doctrine is very different from the attorney-client
      privilege with regard to possible waiver. Although the attorney-client
      privilege exists to protect the confidential communications between an
      attorney and client and, thus, is generally waived by disclosure of
      confidential communications to third parties, the work-product protection
      exists to “promote the adversary system by safeguarding the fruits of an

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      attorney's trial preparations from the discovery attempts of an opponent.”
      Shields v. Sturm, Ruger & Co., 864 F.2d 379, 382 (5th Cir. 1989).
      “Therefore, the mere voluntary disclosure to a third person is insufficient
      in itself to waive the work product privilege.” Id. That is, “because the
      work product privilege looks to the vitality of the adversary system rather
      than simply seeking to preserve confidentiality, it is not automatically
      waived by the disclosure to a third party.” In re Grand Jury Subpoena,
      220 F.3d 406, 409 (5th Cir. 2000). But such a “disclosure does waive
      protection if it has substantially increased the opportunities for potential
      adversaries to obtain the information.” Ecuadorian Plaintiffs v. Chevron
      Corp., 619 F.3d 373, 378 (5th Cir. 2010) (internal quotation marks
      omitted). And, for example, “the work product privilege is waived when
      the attorney requests the witness to disclose the information or when the
      attorney discloses the information to the court voluntarily or makes no
      objection when it is offered.” Shields, 864 F.2d at 382.
             “Unlike the attorney-client privilege, the burden of proving waiver
      of work product immunity falls on the party asserting waiver.” [S.E.C. v.
      Brady, 238 F.R.D. 429, 444 (N.D. Tex. 2006)]; accord Ecuadorian
      Plaintiffs, 619 F.3d at 379 & n.10 (party asserting work-product
      protection is not required to prove non-waiver). “If the party is successful,
      waiver of work product immunity will be limited to the materials actually
      disclosed.” Brady, 238 F.R.D. at 444.
             “What constitutes a waiver with respect to work-product materials
      depends, of course, upon the circumstances.” United States v. Nobles, 422
      U.S. 225, 239 n.14, 95 S. Ct. 2160, 45 L. Ed. 2d 141 (1975).

Mir v. L-3 Comm’ns Integrated Sys., L.P., 315 F.R.D. 460, 467 (N.D. Tex. 2016).

      And, as to what law governs Windsor’s assertion of attorney-client privilege,

including as extended by the common interest doctrine, the Court adopts – in this case

in which Nerium has raised both Texas state law and federal counterclaims, as to

which this evidence appears to possibly be relevant – its reasoning from a prior

decision in another case:

             Before addressing the applicability of which documents are
      protected by the attorney-client privilege, the undersigned must consider
      whether federal or state law of attorney-client privilege applies. In a
      diversity action raising only state law claims, the Court must apply the
      state law of attorney-client privilege. See FED. R. EVID. 501. In a case

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   raising only federal claims over which the Court has federal-question
   jurisdiction, federal common law controls any privilege issues. See id.;
   Willy v. Admin. Rw. Bd., 423 F.3d 483, 495 (5th Cir. 2005). .... Other
   Texas federal courts have persuasively reasoned that federal privilege
   law applies where a plaintiff raises both federal and state claims and the
   evidence at issue is relevant to both. See Guzman v. Memorial Hermann
   Hosp. Sys., Civ. A. No. H-07-3973, at *4-*7 (S.D. Tex. Feb. 20, 2009)
   (discussing cases). Under the circumstances here, and for the reasons
   aptly explained by Judge Rosenthal in Guzman, the Court concludes that
   the federal common law of privilege applies in this case.
           Representations involving multiple clients with separate counsel
   call for the application of what have been called the joint-defense or
   common-interest doctrine. The joint-defense or common-interest doctrine
   extends certain privileges, typically the attorney-client privilege and work
   product protection, to documents that are prepared by parties sharing a
   common litigation interest that would otherwise not enjoy such privilege.
   See FTC v. Think All Publishing, L.L.C., No. 4:07-cv-011, 2008 WL
   687456, at *1 (E.D. Tex. Mar.11, 2008) (citing Ferko v. NASCAR, 219
   F.R.D. 396, 401 (E.D. Tex. 2003)). “Thus, while the attorney-client and
   work product privileges are typically waived upon disclosure to a third
   party, where that third party ‘share[s] a common legal interest’ with the
   producing entity, such production does not waive either privilege.” Id.
   (quoting Ferko, 219 F.R.D. at 401).
           The joint-defense or common-interest doctrine applies under
   federal common law in the Fifth Circuit to “(1) communications between
   co-defendants in actual litigation and their counsel and (2)
   communications between potential co-defendants and their counsel.” In
   re Santa Fe Int’l Corp., 272 F.3d 705, 710 (5th Cir. 2001)] (internal
   citations omitted). The joint-defense or common-interest doctrine
   “extends the attorney-client privilege to communications prompted by
   threatened or actual civil or criminal proceedings and intended to
   facilitate representation between potential co-defendants with a common
   legal interest and their counsel.” Autobytel, Inc. v. Dealix Corp., 455 F.
   Supp. 2d 569, 576 (E.D. Tex. 2006) (citing Santa Fe, 272 F.3d at 710-11).
   The doctrine “exists to protect communications between two parties or
   attorneys that share a common legal interest,” and, “[f]or example, courts
   have found that co-defendants, an insurer and an insured, and a patentee
   and a licensee share a common legal interest.” Ferko v. NASCAR, 219
   F.R.D. 403, 406 (E.D. Tex. 2003). But the “doctrine is to be narrowly
   construed because, although policy considerations support its use in some
   circumstances, it is ‘an obstacle to truth seeking.’” Think All Publishing,
   2008 WL 687456, at *1. For communications between potential co-parties
   to be covered by the doctrine, “there must be a palpable threat of

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      litigation at the time of the communication, rather than a mere
      awareness that one’s questionable conduct might some day result in
      litigation, before communications between one possible future
      co-defendant and another ... could qualify for protection.” Santa Fe, 272
      F.3d at 711.

Nieman v. Hale, No. 3:12-cv-2433-L-BN, 2013 WL 6814789, at *2 (N.D. Tex. Dec. 26,

2013); accord In re E.E.O.C., 207 F. App’x 426, 431 (5th Cir. 2006) (“With respect to the

attorney-client privilege, we note that because this case concerns the adjudication of

federal rights, the federal common law of attorney-client privilege applies.”).

      As to the requirements for establishing the privilege in the first instance, the

United States Court of Appeals for the Fifth Circuit has explained:

             The attorney-client privilege is recognized as “the oldest of the
      privileges ... known to the common law.” United States v. Zolin, 491 U.S.
      554, 562, 109 S. Ct. 2619, 105 L. Ed. 2d 469 (1989) (internal quotation
      marks omitted). Its purpose is “to encourage full and frank
      communication between attorneys and their clients and thereby promote
      broader public interests in the observance of law and administration of
      justice.” Id. (internal quotation marks omitted); see also In re Grand Jury
      Subpoena, 419 F.3d 329, 338 (5th Cir. 2005). Simply stated, under this
      rule, “an attorney may not disclose his client’s confidences.”

In re E.E.O.C., 207 F. App’x at 431 (citation omitted).

      “For a communication to be protected under the [attorney-client] privilege, the

proponent ‘must prove: (1) that he made a confidential communication; (2) to a lawyer

or his subordinate; (3) for the primary purpose of securing either a legal opinion or

legal services, or assistance in some legal proceeding.’” E.E.O.C. v. BDO USA, L.L.P.,

876 F.3d 690, 695 (5th Cir. 2017) (quoting United States v. Robinson, 121 F.3d 971, 974

(5th Cir. 1997)).



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      But, even if Texas law applied to Windsor’s asserted attorney-client privilege,

as Nerium asserts as to the governing standards (but not as to the privilege’s extension

by the common interest doctrine), the governing standards would be largely the same:

             This Court sitting in this diversity case applies the Texas
             attorney-client privilege. Under Texas law, the elements of
             the attorney-client privilege are: (1) a confidential
             communication; (2) made for the purpose of facilitating the
             rendition of professional legal services; (3) between or
             amongst the client, lawyer, and their representatives; and
             (4) the privilege has not been waived. The burden is on the
             party asserting the privilege to demonstrate how each
             document satisfies these elements. A general allegation of
             privilege is insufficient to meet this burden. Instead, the
             proponent must provide sufficient facts by way of detailed
             affidavits or other evidence to enable the court to determine
             whether the privilege exists. Although a privilege log and an
             in camera review of documents may assist the court in
             conducting its analysis, a party asserting the privilege still
             must provide “a detailed description of the materials in
             dispute and state specific and precise reasons for their claim
             of protection from disclosure.” In fact, “resort to in camera
             review is appropriate only after the burdened party has
             submitted detailed affidavits and other evidence to the
             extent possible.”
      Curlee v. United Parcel Serv., Inc. (Ohio), No. 3:13-cv-344-P, 2014 WL
      4262036, at *4 (N.D. Tex. Aug. 29, 2014) (citations omitted).
             [Texas Rule of Evidence 503(b)] extends the attorney-client
      privilege to communications between the client’s lawyer and the client’s
      representative. Under Rule 503(b), “[a] client has a privilege to refuse to
      disclose and to prevent any other person from disclosing confidential
      communications made to facilitate the rendition of professional legal
      services to the client: (A) between the client or the client’s representative
      and the client’s lawyer or the lawyer’s representative; (B) between the
      client’s lawyer and the lawyer’s representative; (C) by the client, the
      client’s representative, the client’s lawyer, or the lawyer’s representative
      to a lawyer representing another party in a pending action or that
      lawyer’s representative, if the communications concern a matter of
      common interest in the pending action; (D) between the client’s
      representatives or between the client and the client’s representative; or
      (E) among lawyers and their representatives representing the same

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      client.” TEX. R. EVID. 503(b)(1). “A communication is ‘confidential’ if not
      intended to be disclosed to third persons other than those: (A) to whom
      disclosure is made to further the rendition of professional legal services
      to the client; or (B) reasonably necessary to transmit the communication.”
      TEX. R. EVID. 503(a)(5).
              “The privilege may be claimed by: (1) the client; (2) the client’s
      guardian or conservator; (3) a deceased client’s personal representative;
      or (4) the successor, trustee, or similar representative of a corporation,
      association, or other organization or entity – whether or not in existence.
      The person who was the client’s lawyer or the lawyer’s representative
      when the communication was made may claim the privilege on the
      client’s behalf—and is presumed to have authority to do so.” TEX. R. EVID.
      503(c).
              Texas Rule of Evidence 503(a)(2) defines a “client’s representative”
      as “(A) a person who has authority to obtain professional legal services for
      the client or to act for the client on the legal advice rendered; or (B) any
      other person who, to facilitate the rendition of professional legal services
      to the client, makes or receives a confidential communication while acting
      in the scope of employment for the client.” TEX. R. EVID. 503(a)(2). And
      Texas Rule of Evidence 503(a)(4) defines a “lawyer’s representative” as
      “(A) one employed by the lawyer to assist in the rendition of professional
      legal services; or (B) an accountant who is reasonably necessary for the
      lawyer’s rendition of professional legal services.” TEX. R. EVID. 503(a)(4).
              “Although the attorney-client privilege extends to communications
      between ‘representatives of the client,’ a party invoking the privilege
      must show that each person privy to the communication: (1) had the
      authority to obtain professional legal services on behalf of the client; (2)
      had authority to act on legal advice rendered to the client; or (3) made or
      received the confidential communication while acting within the scope of
      his employment for the purpose of effectuating legal representation to the
      client.” Navigant Consulting, Inc. v. Wilkinson, 220 F.R.D. 467, 475 (N.D.
      Tex. 2004).

Total Rx Care, LLC v. Great N. Ins. Co., 318 F.R.D. 587, 595-96 (N.D. Tex. 2017).

      “Although it is sometimes referred to as the ‘joint defense’ privilege, see
      In re XL Specialty Ins. Co., 373 S.W.3d 46, 50-51 (Tex. 2012), Tex. R.
      Evid. 503(b)(1)(C) does not create an independent privilege, but rather an
      exception to the general rule that no attorney-client privilege attaches to
      communications that are made in the presence of or disclosed to a third
      party.” In In re XL Specialty Insurance Co., 373 S.W.3d 46 (Tex. 2012),
      the Texas Supreme Court made clear that Texas law on the so-called
      common-interest or joint-defense doctrine “requires that the

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      communications be made in the context of a pending action,” provides
      that “no commonality of interest exists absent actual litigation,” and,
      accordingly, provides that the exception to the general rule under Texas
      law “is not a ‘common interest’ privilege that extends beyond litigation”
      and is not “a ‘joint defense’ privilege, as it applies not just to defendants
      but to any parties to a pending action.” 373 S.W.3d at 51-52 (footnotes
      omitted). Rather, “Rule 503(b)(1)(C)'s privilege is more appropriately
      termed an ‘allied litigant’ privilege,” “protects communications made
      between a client, or the client's lawyer, to another party's lawyer, not to
      the other party itself,” and “applies only when the parties have separate
      counsel.” Id. at 52-53.

McKinney/Pearl Restaurant Ptrs., L.P. v. Metro. Life Ins. Co., No. 3:14-cv-2498-B, 2016

WL 2997744, at *5 (N.D. Tex. May 25, 2016) (citation omitted).

      And, in any event, federal common law (as laid out above) would govern the

common interest doctrine’s application to any work product protection. See generally

Zenith Ins., 2018 WL 4386268, at *6 (“[T]he issue of whether documents are exempt

from discovery under the attorney work product doctrine is governed by federal law in

diversity cases because work product is not a substantive privilege within the meaning

of Federal Rule of Civil Procedure 501.” (internal quotation marks omitted)). And

Windsor bears the burden of demonstrating any common interest or allied litigant

doctrine’s applicability to any withheld communications or documents. See Santa Fe,

272 F.3d at 710; In re XL Specialty, 373 S.W.3d at 52-54.

      Finally, the Court has previously laid out standards that govern a nonparty’s

Federal Rule of Civil Procedure 45(d)(2)(B) objections to a Rule 45 subpoena to produce

documents, and those standards are incorporated, but will not be repeated, here.

MetroPCS v. Thomas, 327 F.R.D. 600, 606-10 (N.D. Tex. 2018); Am. Fed’n of Musicians

of the U.S. & Canada v. Skodam Films, LLC, 313 F.R.D. 39, 42-45 (N.D. Tex. 2015).

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                                         Analysis

I.       Nerium’s MTC

         In response to the MTC, Windsor explains that Nerium

         acknowledged on page 3 of its motion that what they seek in their
         emergency motion, are the same audio recordings which were the subject
         of a previous Motion to Compel. See Doc. #47. The court has since ruled
         on Nerium’s previous motion to compel, and consistent with that order,
         plaintiff is in the process of producing the audio recordings. As such, the
         portion Nerium’s motion seeking to compel those recording is moot.
                2. Nerium’s emergency motion also claims waiver and requests
         production of all communications between plaintiff, Mark Smith, and
         their respective counsel, despite the existence of a Common Interest
         Agreement between Plaintiff and Mark Smith and their respective
         counsel. At the time of Nerium’s filing of its emergency motion, counsel
         for Nerium was aware that plaintiff had already agreed to produce all of
         the responsive communications between Plaintiff, Smith and Counsel
         that transpired before the execution of the Common Interest Agreement.
         Indeed, within 2 hours of Nerium filing its motion, plaintiff produced
         those very documents. To date, the only documents that are being
         withheld are some 17 emails between counsel for plaintiff and counsel for
         Mark Smith – made after the entry of the Common Interest Agreement.

Dkt. No. 82 at 1-2 (footnotes and emphasis omitted).

         The issue, then, is now only whether those 17 communications – as listed on

Windsor’s privilege log, see Dkt. No. 82-1 – should be shielded from discovery in this

case based on Windsor’s asserting, as to each, attorney-client privilege and attorney

work product protection, as extended by the common interest doctrine.

         Nerium replies that,

         [i]n response to Nerium’s motion to compel (Doc. #76), Dennis Windsor
         bore the burden of proving each withheld document is privileged.
         Celanese Corp. v. Clariant Corp., No. 3:14-CV-4165-M, 2015 WL 9269415,
         at *1 (N.D. Tex. Dec. 21, 2015) (Horan, J.) (citing In re Santa Fe Int’l
         Corp., 272 F.3d 705, 710 (5th Cir. 2001)). “A general allegation of
         privilege is insufficient to meet this burden.” Id. Instead, Windsor was

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      required to “provide sufficient facts by way of detailed affidavits or other
      evidence to enable the Court to determine whether the privilege exists or
      work-product protection applies as to a specific document or
      communication.” Id.
             Windsor submitted no declarations or affidavits. See Doc. #82. Nor
      did Windsor even mention (much less validate) his assertions of
      attorney-client privilege or work-product. See id. Instead, Windsor
      generally asserted the existence of a “Common Interest Agreement” and
      claimed “a good faith basis for asserting the common interest privilege”
      without specifics or evidence, and attached an unverified privilege log and
      his recent document production. Id. at ¶¶ 2-3 & p. 4-329. This general,
      unsubstantiated privilege assertion is insufficient to sustain Windsor’s
      burden. See, e.g., Celanese Corp., 2015 WL 9269415, at *1 (noting a
      “general allegation of privilege is insufficient” and explaining the
      evidence required); see also Total Rx Care, LLC v. Great N. Ins. Co., 318
      F.R.D. 587, 601 (N.D. Tex. 2017) (Horan, J.) (denying motion for
      protective order because privilege proponent had not carried its burden).
             Similarly unpersuasive is Windsor’s passing reference to the
      common-interest doctrine. See Doc. #82 at ¶ 3. The doctrine is not an
      independent privilege; it merely “extends the attorney-client privilege”
      and work-product doctrine under certain narrow circumstances. See
      Nieman v. Hale, No. 3:12-CV-2433-L-BN, 2013 WL 6814789, at *2 (N.D.
      Tex. Dec. 26, 2013) (Horan, J.); see also Flashmark Techs. LLC v. GTECH
      Corp., No. 206-cv-205, 2007 WL 2264765, at *2 n.3 (E.D. Tex. Aug. 6,
      2007). Because Windsor failed to prove or argue with any specificity that
      the documents are attorney-client privileged or work product, the
      common-interest doctrine would not provide a standalone basis to
      withhold documents. See id.

Dkt. 88 at 1-2.

      The Court agrees with Nerium’s assessment for the reasons and based on the

authority that it lays out. Nerium filed the MTC on December 21, 2018, and, according

to the information that Windsor includes on his privilege log, all of the withheld

communications date back to no later than December 11, 2018. Although the Court

ordered expedited briefing on the MTC in light of Mark Smith’s January 3, 2019 trial

deposition, Windsor should have had sufficient time to produce the evidence required


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to meet his burden. Windsor’s general assertions on his privilege log and attaching a

copy of a Common Interest Agreement are not sufficient to meet his burden to establish

each of the requirements to show that each withheld communication is privileged or

protected work product.

      Having failed to meet that burden, the common interest doctrine – under federal

common law or Texas law – does not independently protect the communications from

disclosure in discovery in this case, and the Court need not reach the issue of whether

Nerium met its burden to show waiver of any work product protection.

      But, even if Windsor had made the required showing as to each of the 17

withheld communications to establish attorney-client privilege or work product

protection or both, Windsor has not established that the privilege or work product

protection would be extended to communications with a non-party’s counsel under the

common interest doctrine.

      Mark and Tammy Smith are not parties in this case, and Nerium asserts that

the common interest doctrine does not extend the attorney-client privilege to

communications between (1) Windsor or his counsel and (2) Mark or Tammy Smith or

their counsel because the Smiths are not Windsor’s actual or potential co-defendants.

See Dkt. No. 76 at 5-6; accord Santa Fe, 272 F.3d at 710. As Windsor points out, the

Fifth Circuit has more recently explained in an unpublished opinion that

      this court has not expressly held that the privilege is inapplicable to
      co-plaintiffs. Several courts – including lower courts in this circuit – have
      held that the privilege extends to co-plaintiffs in litigation.
             But we need not reach this issue. Even if we were to conclude that
      the common legal interest privilege extends to some communications

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      between Morgan Stanley and Safeguard's counsel, the privilege does not
      apply to the remaining communication at issue. Communications may be
      protected by the common legal interest privilege only if those
      communications “‘further a joint or common interest.’” In re Santa Fe Int'l
      Corp., 272 F.3d at 711-12 (quoting Aiken v. Tex. Farm Bureau Mut. Ins.
      Co., 151 F.R.D. 621, 623 (E.D. Tex. 1993)) (emphasis added).... We have
      reviewed the parties' summaries of the remaining communication, and we
      conclude that it was not made in furtherance of (but rather is
      diametrically opposed to) the prosecution of the Insurance Litigation. As
      such, the common legal interest privilege does not apply to this
      communication.

BCR Safeguard Holding, L.L.C. v. Morgan Stanley Real Estate Advisor, Inc., 614 F.

App’x 690, 703-04 (5th Cir. 2015) (citations, emphasis, and footnotes omitted). But the

Fifth Circuit also noted that, “[e]ven if the common legal interest privilege extends to

plaintiffs, we also question whether the privilege could apply to any of the

communications between Morgan Stanley and Safeguard, which were not ‘co-plaintiffs’

in the Insurance Litigation (Safeguard was the sole plaintiff)” and that, “[a]lthough

Morgan Stanley had some interest in the litigation due to its interest in Safeguard (via

PPF), such an interest may be insufficient to give rise to the privilege.” Id. at 704 n.20.

      The Court need not reach this unsettled issued. Even assuming that the federal

common law common interest doctrine extends to communications between counsel for

these plaintiffs in separate actions, Windsor has not met his burden to show or explain

how each communication was made to further a joint or common interest that he

shared with Mark or Tammy Smith. Windsor’s pointing out “the existence of a

Common Interest Agreement between Plaintiff and Mark Smith and their respective

counsel” and contending that “plaintiff has a good faith basis for asserting the common

interest privilege” does not meet his burden. Dkt. No. 82 at 1-2. And the Court would

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reach the same determination even if the Texas allied litigant doctrine applies as to

attorney-client privilege here and could properly extended to communications between

counsel for these plaintiffs in separate actions. See In re XL Specialty, 373 S.W.3d at

53 (“Here, XL is the client, and the communications were between XL’s lawyer and a

third party, Cintas, who was not represented by XL’s lawyer (or any other lawyer) and

was not a party to the litigation or any other related pending action.”); see generally id.

at 51-54; but see Benson v. Rosenthal, Civ. A. No. 15-782 2016 WL 3001129, at *4 (E.D.

La. May 25, 2016) (“Texas case law indicates that this narrow Texas common interest

rule protects only persons who are co-litigants, either co-plaintiffs or co-defendants, in

the same pending action, not in separate cases.”).

      But, under Federal Rule of Civil Procedure 37(a)(5)(A), the Court determines

that, considering all of the circumstances here and the Court’s rulings above as to the

discovery requests at issue, the parties will bear their own expenses, including

attorneys’ fees, in connection with Nerium’s MTC.

II.   Mark Smith’s Objection to Subpoena

      After Mark Smith filed his Objection to Subpoena and Judge Lindsay referred

it to the undersigned, the Court entered an electronic order that, “if Defendants want

a ruling on these objections before the January 3, 2019, Mark Smith deposition, any

response to the objections must be filed by 10:00 a.m. Central Time on 1/2/2019 – after

which the Court will rule on the objections.” Dkt. No. 86. Nerium did so, filing what is

effectively a Federal Rule of Civil Procedure 45(d)(2)(B)(i) motion for an order

compelling production. See Dkt. No. 90. Rule 45(d)(2)(B)(i) provides that, “[i]f an

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objection is made, the following rules apply: (i) At any time, on notice to the

commanded person, the serving party may move the court for the district where

compliance is required for an order compelling production or inspection.” FED. R. CIV.

P. 45(d)(2)(B)(i).

       Unfortunately, the Court, now having reviewed the Subpoena, recognizes that

the United States District Court for the Northern District of Texas is not the court for

the district where compliance with the Subpoena is required. Rather, as this Court has

previously explained at greater length, “for purposes of a Rule 45(d)(2) or 45(d)(3)

motion, the court or district ‘where compliance is required’ is determined by the

location or ‘place’ for compliance identified on the subpoena as required by [Federal

Rule of Civil Procedure] 45(a)(1)(A)(iii).” CSS, Inc. v. Herrington, No. 3:17-mc-71-N-BN,

2017 WL 4750707, at *5 (N.D. Tex. Oct. 20, 2017).

       Because the Northern District of Texas is not the district where compliance with

the Subpoena is required, this Court has no basis or authority to address the Subpoena

or Mark Smith’s objections under Rule 45(d)(2)(B), as to which any Rule 45(d)(2)(B)(i)

motion must be filed in the court for the district where compliance is required.

                                     Conclusion

       For the reasons and to the extent explained above, the Court GRANTS

Defendant Nerium International, L.L.C.’s Emergency Motion to Compel [Dkt. No. 76]

and can take no further action on Nonparty Mark Smith’s Objections to Subpoena

[Dkt. No. 81]. The Court ORDERS Plaintiff Dennis Windsor to, by 5:00 p.m. Central



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Time on January 2, 2019, produce to Nerium’s counsel all unproduced documents

responsive to Nerium International LLC’s Request for Production No. 61.

      SO ORDERED.

      DATED: January 2, 2019


                                     _________________________________________
                                     DAVID L. HORAN
                                     UNITED STATES MAGISTRATE JUDGE




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